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   4                       UNITED STATES DISTRICT COURT

   5        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

   6
   7 MARIA DEL CARMEN DIAZ                        Case No.: CV 21-8181-MWF (MAAx)
     CHINCHILLAS, individually and as
   8 successor-in-interest to EDUARDO             ORDER REMANDING ACTION
     NAVARRETE MORENO, Deceased,
   9 EDUARDO LORENZO NAVARRETE
     PALACIOS AND YOLANDA ARELY
  10 NAVARRETE       PALACIOS, Individually,

  11              Plaintiffs,

  12        vs.

  13 DAP PRODUCTS, INC., et. al.
  14
                  Defendants.
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  17        On November 12, 2021, the parties to the above-referenced action filed a

  18 Stipulation to Remand Removed Action to State Court. The Court having reviewed
  19 that stipulation and good cause appearing, orders as follows:
  20        1. The Parties’ stipulation is GRANTED;

  21        2. Central District of California case number 2:21-cv-08181 styled

  22 Chinchillas et al. v. DAP Products, Inc., et al,. is hereby REMANDED to the Los
  23 Angeles County Superior Court.
  24        IT IS SO ORDERED.

  25
  26 Dated: November 15, 2021                    _______________________________
                                                 MICHAEL W. FITZGERALD
  27                                             United States District Judge
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                                CERTIFICATE OF SERVICE
   1
   2        I hereby certify that on this the 12th day of November 2021, the foregoing
   3 Order was filed electronically via the Court’s Case Management/Electronic Case
   4 Filing system and served upon all counsel of record via the same.
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   8                                        Sylvia B. Iwai

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